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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

                                                         03-MDL-1570 (GBD)(SN)
    In re Terrorist Attacks on September 11, 2001
                                                         ECF Case

   This document relates to:
     Amin et al v. Islamic Republic of Iran, No. 20-cv-00412
     Anderson et al v. Islamic Republic of Iran, No. 20-cv-00354


            [PROPOSED] PARTIAL FINAL DEFAULT JUDGMENT FOR
          AMIN AND ANDERSON PLAINTIFFS IDENTIFIED AT EXHIBIT B

        Upon consideration of the evidence and arguments submitted by Plaintiffs in the above-

captioned matters (the “Amin and Anderson Plaintiffs”), who are each the estate of an individual

who was injured and ultimately killed as a result of the terrorist attacks on September 11, 2001

(as identified on the attached Exhibit B), in their Renewed Motion for Entry of Partial Final

Default Judgment (“Motion”) and memorandum of law in support thereof, together with the

entire record in this case, it is hereby:

        ORDERED that the Motion is granted; and it is

        ORDERED that the Amin and Anderson Plaintiffs identified in the attached Exhibit B

are awarded partial compensatory damages for decedents’ pain and suffering in an amount of

$7,000,000 per estate to each estate, as set forth in Exhibit B; and it is

        ORDERED that the Amin and Anderson Plaintiffs identified in the attached Exhibit B

are awarded prejudgment interest of 4.96 percent per annum, compounded annually, running

from September 11, 2001 until the date of judgment; and it is

        ORDERED that the Amin and Anderson Plaintiffs identified in Exhibit B may submit

an application for economic damages, punitive damages, and other damages at a later date,

consistent with any future rulings made by this Court.



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       The Clerk of the Court is hereby directed to terminate the motion docketed at MDL ECF

No. 9995, at 20-cv-00412 (S.D.N.Y.) ECF No. 106, and at 20-cv-00354 (S.D.N.Y.) ECF No.

100.



Dated: New York, New York                     SO ORDERED:
_________________, 2024
                                              _____________________________________
                                              GEORGE B. DANIELS
                                              United States District Judge




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